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               UNITED STATES DISTRICT COURT FOR
                THE DISTRICT OF NEW HAMPSHIRE

         EXHIBIT TO JOINT RENEWED MOTION TO CONTINUE
           WITH A PROPOSED SCHEDULE FOR DEADLINES



   Scheduling Designation            Current Deadline        Proposed Deadline
Completion of Discovery         1/5/24                  4/12/24
Discovery Status Report         3/21/24                 3/5/24
Disclosure of Experts and       8/1/23                  2/1/24
Experts’ Written Reports        Supp 12/1/23            Supp 3/15/24
(Plaintiff)
Disclosure of Experts and       11/1/23                 3/1/24
Experts’ Written Reports        Supp 12/1/23            Supp 4/1/24
(Defendant)
Challenges to Expert            45 d before trial       45 d before trial
Testimony
Disclosure of Claims Against    6/1/23                  12/1/23
Unnamed Parties
Joinder of additional parties   7/1/23                  11/1/23
(plaintiff)
Joinder of additional parties   8/1/23                  1/1/24
(defendants)
Third-Party Actions                                     12/1/23
Amendment to pleadings          7/1/23                  11/1/23
(plaintiff)
Amendment to pleadings          8/1/23                  1/1/24
(defendant)
Motions to Dismiss              5/1/23                  12/1/23
Motions for Summary             1/20/24                  5/15/24
Judgment
Trial                           5/21/24                 10/16/24
